                                                                                         DISTRICT OF OREGON
                                                                                              FILED
                                                                                              July 11, 2011
                                                                                      Clerk, U.S. Bankruptcy Court




   IT IS ORDERED AND NOTICE IS GIVEN that unless within 23 days of the date in the FILED stamp
   above an interested party BOTH: (1) files a written objection to the Motion below, SETTING FORTH
   the specific grounds for such objection, with the Clerk of Court (i.e., if the 5-digit portion of the Case
   No. begins with 3 or 4, at 1001 SW 5th Ave. #700, Portland OR 97204; OR, if it begins with a 6 or 7, at
   405 E 8th Ave #2600, Eugene OR 97401), AND (2) serves a copy on the movant and any attorney for
   the movant at the service address(es) below, the movant will thereafter settle and compromise the
   matter upon the terms below and the settlement will be deemed approved without further order.




                                                                             _____________________________
                                                                                    TRISH M. BROWN
                                                                                  U.S. Bankruptcy Judge

                                   UNITED STATES BANKRUPTCY COURT

                                             DISTRICT OF OREGON


In re                                                        )
CGF LLC                                                      )
                                                             )
                                                             )
                                                             )            11-30477-tmb7
                                                                 Case No.________________
Debtor(s)                                                    )
                                                             )                  11-3056-tmb
                                                                 Adv. Proc. No._____________
Amy E. MItchell, Chapter 7 Trustee                           )
                                                             )   MOTION AND NOTICE OF INTENT
                                                             )   TO SETTLE AND COMPROMISE
Plaintiff(s)                                                 )   ADVERSARY PROCEEDING,
                                      v.                     )   AND ORDER THEREON
Patrick M. Gisler, Pierce Wealth Partners Funds #1, LLC, a )
Colorado limited liability company, Eric D. Cole, Kathryn L. )
Cole, and Reece E. Madison                                   )
Defendant(s)                                                 )


                                            Amy E. Mitchell
       The undersigned trustee, ______________________________, moves to settle and compromise the
above adversary proceeding upon the following terms:
   Prior to filing bankruptcy, the Debtor signed a Lease Option Agreement with Patrick Gisler (landlord) regarding
real property at 19555 Pinehurst Road, Bend, Oregon 97701 (the “Real Property”). After substantial litigation
between the Debtor and Gisler, Gisler acquired a civil judgment against the Debtor in Deschutes Co. Circuit
Court, Case No. 08-CV-0899MA. The Debtor appealed the judgment (Or. App. No. A147046) (the "Appeal").
   Gisler later filed a bankruptcy case. The Gisler Bankruptcy Estate stepped into Gisler’s shoes in regards to
the judgment and the Appeal. Defendant Pierce Wealth Partners Fund #1, LLC (PWPF) purchased from the Gisler
Estate all rights in the judgment. On the same day, PWPF sold the judgment to Reece Madison.
   The Debtor was a nursery business and its assets include landscaping tools and nursery equipment; vehicles
(including three vans and a 2-ton flatbed truck); an irrigation system (including two rolling lines, a main line, and
a hand line); approx. 50,000 plastic nursery pots (3- and 5-gallon sizes); rights in the names “Cascade Garden
Farm” and “Gem Tumalo”; partially completed greenhouses and greenhouse kits; and potted and in-ground
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nursery stock, including numerous aspen trees (the “Assets”), all located at the Real Property.
   The Trustee filed the above-captioned proceeding and obtained a Temporary Restraining Order based on
alleged actions detailed in the Trustee’s Complaint, including that, post-petition and with knowledge of the
bankruptcy filing, the Defendants violated the automatic stay and are therefore liable for sanctions, damages,
and the Trustee’s fees and costs. The Defendants dispute the Trustee’s allegations and deny any wrongdoing or
liability to the Trustee or Estate.
   On February 8, 2011, Eric and Katheryn Cole (the Coles) and Madison together acquired from West Coast Bank
the Real Property. Madison has demanded administrative rent in an unspecified amount for the Estate's use of
the Real Property and reimbursement for care of the Debtor’s plant inventory.
   To resolve these issues, the Estate will receive a $62,500.00 cash settlement payment from Madison, a release
of all claims from Madison, Gisler, and PWPF, and indemnification of any admin. rent claim asserted by the
Coles, in exchange for a release of Madison, Gisler, and PWPF (incl. their dismissal from the adversary
proceeding with prejudice), and the transfer of the Estate's interest in the Assets and the Appeal to Madison.

                                                      ###


DATE: ___________
         7/8/11                                      /s/ Amy E. Mitchell
                                                     ______________________________________________
                                                                         Trustee

                                                   POB 2289, Lake Oswego, OR 97035
                                  Service Address: ______________________________________________

                                                     ______________________________________________

                                                   Ball Janik LLP, Attn: Justin D. Leonard, OSB #033736
                     Name of Attorney for Trustee: ______________________________________________

                                                   101 SW Main Street, Suite 1100, Portland, OR 97204
                                  Service Address: ______________________________________________

                                                     jleonard@balljanik.com
                                                     ______________________________________________




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